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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

DISTRICT OF COLUMBIA,
STATE OF NEW YORK, STATE
OF CALIFORNIA, STATE.OF
COLORADO, STATE OF
CONNECTICUT; STATE OF
HAWAIL STATE OF ILLINOIS,
STATE OF MAINE, STATE OF
MARYLAND,
COMMONWEALTH OF
MASSACHUSETTS; ATTORNEY
GENERAL DANA NESSEL ON Giv. Action No. 1:20-cv-00119-BAH
BEHALF OF THE PEOPLE OF
MICHIGAN, STATE OF
MINNESOTA, STATE OF
NEVADA, STATE OF NEW
JERSEY, STATE OF NEW
MEXICO, STATE OF-OREGON,
COMMONWEALTH OF
PENNSYLVANIA, STATE OF
RHODE ISLAND, STATE OF
VERMONT, COMMONWEALTH
OF VIRGINIA, and. CITY OF
NEW YORK,

Plaintiffs;
Vv.

US, DEPARTMENT OF
AGRICULTURE; GEORGE
ERVIN PERDUE II], in his official
capacity as Sécretary of the U.S.
Department of Agriculture, and
UNITED STATES OF AMERICA,

Defendants.

DECLARATION OF CATHERINE BUHRIG IN SUPPORT OF
PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT

Pursuant to 28 U.S.C. § 1746, 1, Catherine Buhrig,-declare and’staté as follows:

lL. Jam over the age of eighteen (18) years, competent to testify to the matters
contained herein, and testify based.on my personal knowledge and information.
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2. I am the Director of.the Bureau of Policy in the Office of Incotne Maintenance
(OIM) at the Pennsylvania Department of Human Services (PA DHS). I have held this position.
since. December 2014. I have worked for PA DHS for 17 years and have held numerous positions
within human services. f hold a B.S, in Psychology from the University of Pittsburgh, a Master’s.
in Organization Development and Leadership with a concentration in public. organizations and a
Master's in Public Administration from:Shippensburg University. As-policy director, Iam
responsible.for monitoring, maintaining and analyzing program changes, legislative bill analysis
at both ‘the state and federal.level. I'am also.responsible for the administration, implementation,
oversight, compliance, and reporting of eligibility policy for Medicaid, state-funded Medical
Assistance, the Supplemental Nutrition Assistance: Program (SNAP), the Temiporaty Assistance
for Needy Families (TANF) program, and the Low-Income Energy Assistance Program
(LIHEAP) for the Commonwealth of Pennsylvania.

3. [am aware that the federal government:in December 2019 issued.a final rule
“Supplemental Nutrition Assistance Program: Requirements for Able-Bodied Adults Without.
Dependents” 84 Fed. Reg. 66,782 (Dec. 5,.2019) (Final Rule), I have reviewed the Final Rule:
and am aware of its direct implications on administering SNAP, formerly known as food stamps,
within Pennsylvania. I understand that this.lawsuit challenges the Final Rule, J previously
submitted a declaration in‘support of the State Plaintiffs’ motion for preliminary: injunction.

4, After State Plaintiffs filed their motion for preliminary injunction, the.novel
coronavirus which causés the disease known as COVID+19 began spreading throughout
Pennsylvania. On March 6, 2020, Pennsylvania Governor Tom Wolf declared a public health
emergency, To. mitigate the spread of COVID- 19, businesses were forced to close their doors,
As a result of the economic fallout, many Pennsylvania residents lost their jobs.

5. The current public health crisis demonstrates-the untenability of the restrictions on
ABAWD waiver requests that would be imposed under the Final Rule. The new ABA WD
waiver criteria in the Final Rule cripples States’ ability to respond to sudden ecoriomic
downturns and emergencies such as the one caused by COVID-19. The current health crisis has
underscored the urgent need for states to be_nimble.and flexible in their ability to respond to. this
and other crises. Current ABAWD waiver requirements do exactly that. States will be
hamstrung without this flexibility, and SNAP recipients and state economies will suffer.

6, ‘The Final Rule eliminates.a.state’s ability to justify ABAWD waiver requests
with a U.S. Department of Labor determination that the state qualifies for extended
unemployment benefits. Under the Final rule, Pennsylvania must wait for the release of three
full months ‘of local area unemployment data reflecting the effects of the crisis before qualifying
fora waiver, thereby delaying the ability of somie ABA WDs to receive benefits during the.
emergency. The COVID-19 crisis iflustrates that this change would unduly delay states’ ability
to receive an ABAWD waiver during a widespread regional or national emergency like the
COVID-19 pandemic: Under the Final rule, Pennsylvania must wait:for the-release of three full.
months of local-area unémployment data reflecting. the effects of the crisis before qualifying for
a waiver, thereby delaying the ability of some ABA WDs to receive benefits. during the
emergency. .
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7, The Final Rule eliminates unlimited catryover of discretionary exemptions,
hampering the state’s-ability to respond to statewide and local emergencies. The COVID-19
crisis is a cogent example of why states need to maintain their ability to carryover all
discretionary ABAWD exemptions. Limiting carryover leaves states unable to adequately
protect ABAWDs subject:to the time limit before enough time. passes to qualify fer a waiver.
The virus remains, and with a threatened second wave later this year, the Final Rule would
undermine: Pennsylvania’ $ ability to grant discretionary exemptions from the ABAWD time limit
and continue food assistance pending a waiver. Together these.rules would limit access to food
at. the height of-an emergency when they are most needed.

8. Using Labor Market Areas (“LMAS’ yas the. Beogi aphic basis of a waiver requést,
as the Final Rule requires, is likewise unreasonable. Each state with localities within the LMA
makes independent décisions on when to réopen restaurants, businesses, schools, and parks.
These.decisions directly-affect the local unemployment rate. Counties in Ohio, Maryland,
Delaware and New Jersey, which are. pari of the same LMA.as. Pennsylvania, have designed their
own narrowly tailored tracks for reopening. States are determining how.and when to reopen
portions of the economy in consideration of public health conditions in local areas and not based
on the LMA-as a whole. The nature and éxterit of each state’s health and économie crisis is
unique — and the trajectory varies, even by county. Pennsylvania’s: ability to. receive an
ABAWD waiver should not depend on the health and economic situation in surrounding states
within the LMA.

9, Job availability in counties within the LMA that are 50-to 70 miles from the state
may improve. But Pennsylvania residents subject to ABA WD time limits may not have
meaningful acess to these jobs, Before the COVID-19 crisis, many. ABA WDs-had limited
access to the far reaches of the LMA because of limited transportation. Many ABAWDs do not
own.a car and many LMAs do not have ready access via public transportation. To reduce the
risk of exposure to COVID-19, public transportation has been further limited,

10. Pennsylvania must focus on the well-being of its own residents in determining.
when to reopen the economy and how to address. unemployment in the state. Relying on the
LMA as the geographic basis for the waiver inappropriately requires the state to take. into
account decisions to teopen businesses in surrounding states ~ in places many miles away where
the COVID-19.infection rates may be: lower. An ABA WD waiver under the Final Rule’s:new.
criteria would be constrained to reflect the overall unemployment rate ofall counties. This
broad-brush approach ignores the fact that some:-portions of ihe LMA may. have had permission
to returned to “normal” économic activity before others, triggering lower unemployment tates.
Meanwhile states like Pennsylvania are’still seeing high unemployment rates as state-officials
prioritize preventing the spread of COVID-19, Decisions made in other jurisdictions,. without.
consideration of the status of COVID cases. within Pennsylvania, could nevertheless prevent the
state from providing its residents. with much-needed food assistance during a-public health crisis.

11. In the face of the-Final Rule’s draconian restrictions that would, even in these dire
times, deny or délay a waiver for Pennsylvania, the.food banks are drained, local feeding centers
are the norm, and supermarket shelves are just beginning to return to normal stock, No one can
reasonably dispute that the nation is in the midst of an unptecedented crisis. Without the ability
to qualify for a waiver, Pennsylvania would have limited means of providing much néeded food.
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assistance to ABAWDs,. Many ABAWDS cannot fitid work in a flailing economy, are unable'to
look-for work while maintaining appropriate social distancing.or are unable to participate in
online training services because of the digital divide.

12. On May 10,.2020, Pennsylvania qualified for'a statewide waiver under the current
rule’s extended unemployment benefits criterion. However, the Final Rule’eliminates this
criterion asa basis for a waiver.

13. ‘If the Final Rule becomes effective, Pennsyivania would be left with limited
options, if any, to seék a waiver of the ABAWD time limits. While some businesses are open,
capacity is limited and not all employees have yet been called back to work. Many may never
called back. The remaining waiver options will take si ignificantly more tithe for federal approval
at a time when low-income Pennsylvanians. are most vulnerable.

14. The Final Rule will retroactively strip Pennsylvania of almost 135,000 previously
earned discretionary exemptions that could otherwise be used to maintain food assistance to
ABAWDs while awaiting waiver approval. Low-income families have been hit especially hard
by the pandemic, and many are at high risk as: they are disabled, eldetly, or have’ “underlying
health conditions that make them more’vulnerable to being infected or death from COVID-19.
SNAP benefits are crucial for théir ability to put food on the table to keep their families healthy:
and better positioned. to combat the spread of the coronavirus.

I declare. under penalty of perjury that the forgoing is true and correct and of my own
personal knowledge.

Executed.on June 19, 2020 in Harrisburg, Pennsylvania.

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Catherine Buhrig

Director, Bureau of Policy

Office of Income. Maintenance

Pennsylvania Department of Human Services

